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                                                            June 4, 2019

    VIA
    VIA ECF

    Hon. Louis L. Stanton, U.S.D.J.
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, New York 1007-1312

                               Re:   Federal Trade Comm’n,
                                                   Comm'n, et al. v. Quincy Bioscience Holding Co., LLC
                                     Case No. 1:17-cv-00124-LLS

    Your Honor:

             We represent defendants Quincy Bioscience Holding Company, Inc., Quincy Bioscience
     LLC, Prevagen, Inc. d/b/a Sugar River Supplements, and Quincy Bioscience Manufacturing, LLC
                    “Corporate Defendants")
     (collectively, "Corporate Defendants”) in the above-referenced action.

                              parties’ conference with Your Honor on May 28, 2019, the Corporate
             Following the parties'
    Defendants have decided that they will withdraw their argument that this action constitutes an
    improper restraint on commercial speech from their motion to dismiss, without prejudice and
    subject to being reasserted as an affirmative defense and/or for other purposes throughout the
    litigation, if necessary.

             The Corporate Defendants do intend, however, to pursue their dismissal argument that FTC
     lacked a valid quorum when it authorized the commencement of this action. As the parties
     discussed with Your Honor and during a meet-and-confer with Plaintiffs on June 4, 2019, the
     Corporate Defendants will file a supplemental brief on that remaining point on or before June 17,
                                                             Defendants’ supplemental brief on or before
     2019. Plaintiffs will file their reply to the Corporate Defendants'
     July 1, 2019.

                    We thank the Court for its attention to this matter.
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                           KELLEY
                           K E L L E Y DRYE
                                       D R Y E & WARREN
                                                 WARREN   LLP




June 4, 2019
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                                            Respectfully submitted,

                                            /s/ Geoffrey W.
                                            Is/          W. Castello

                                            Geoffrey W. Castello




cc:    All counsel of record (via ECF)
